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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

Eric Michael Sorenson,
              Plaintiff,
v.                                                      Case No. 3:16-cv-02029 (KAD)

MBI, Inc., Danbury Mint, John P. Hobar,
             Defendants.
                                   JUDGMENT

       This action having come on for consideration of defendants’ motion to dismiss

[doc. #27] and plaintiff’s motion to transfer, strike and amend the complaint [doc. #65]

before the Honorable Kari A. Dooley, United States District Judge; and

       The Court having considered the full record of the case including applicable

principles of law, and having issued a ruling granting the motion to dismiss; it is hereby

       ORDERED, ADJUDGED and DECREED that judgment enter in favor of MBI,

Inc., Danbury Mint and John P. Hobar and the case is closed.

       Dated at Bridgeport, Connecticut, this 22nd day of July, 2019.


                                                        ROBIN D. TABORA, Clerk

                                                        By: /s/ Kristen Gould
                                                           Kristen Gould
                                                            Deputy Clerk


EOD:7/22/2019
